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                    IN THE UNITED STATES DISTRICT COURT
                         DISTRICT OF COLUMBIA (Washington DC)

UNITED STATES OF AMERICA                     )       CASE NO: 1:21-cr 00341
                                             )
       Plaintiff,                            )       JUDGE COLLEEN KOLLAR
                                             )       KOTELLY
                                             )
       -vs-                                  )
                                             )
JOHN DOUGLAS WRIGHT                          )       NOTICE OF INTENT TO PLEAD
                                             )       GUILTY AND REQUEST TO
       Defendant.                            )       CONVERT STATUS HEARING
                                             )       TO A CHANGE OF PLEA
                                             )       HEARING

       Now comes the Defendant, JOHN DOUGLAS WRIGHT, by and through

undersigned counsel, and hereby gives Notice of the Defendant's Intent to enter a guilty

plea herein. Additionally, AUSA does not object to this Request.

       In addition, Defendant respectfully moves this Court to convert the Status hearing

scheduled on July 14, 2022 at 10:00 a.m. and set this matter for a Plea hearing.

                                                     Respectfully submitted,

                                                      /s/ Noah C. Munyer
                                                     Noah C. Munyer (0086575)
                                                     Attorney for John Douglas Wright
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                                                     Akron, Ohio 44308
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                              CERTIFICATE OF SERVICE

        I hereby certify that on this 11th day of July, 2022 a copy of the Notice of Intent to
Plead Guilty and Convert Status Hearing to a Change of a Plea Hearing was filed
electronically. Notice of this filing will be sent by operation of the Court’s electronic
filing system to all parties indicated on the electronic filing receipt. All other parties will
be served by regular U.S. mail. Parties may access this filing through the Court’s system.

                                                      /s/ Noah C. Munyer
                                                      Noah C. Munyer (0086575)
                                                      Attorney for John Douglas Wright
